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                  and James Stewart, Jr.
              9
                                         UNITED STATES DISTRICT COURT
             10
                                        CENTRAL DISTRICT OF CALIFORNIA
             11

             12   JAMES STEWART ENTERTAINMENT,                  CASE NO. EDCV 12-0049 JGB(SPx)
                  LLC, a Florida limited liability company,
             13
                  and JAMES STEWART, JR., an                    PLAINTIFFS’ NOTICE OF MOTION
                  individual,                                   AND JOINT STIPULATION RE
             14                                                 PLAINTIFFS’ MOTION FOR
                                                                EVIDENCE PRECLUSION AND
             15                      Plaintiffs,                MONETARY SANCTIONS FOR
                                                                VIOLATIONS OF RULES 26 AND 37
             16                                                 OF THE FEDERAL RULES OF CIVIL
                        v.
                                                                PROCEDURE
             17
                  L&M RACING, LLC, a California limited [Fed. R. Civ. P. 26 & 37]
             18   liability corporation, and MIKE
                  KRANYAK, an individual,               DATE:        June 18, 2013
             19                                         TIME:        10:00 a.m.
                                      Defendants.       PLACE:       Courtroom 3 or 4 – 3rd Floor
             20                                                           (The Honorable Sheri Pym
                                                                          United States Magistrate Judge)
             21
                                                                     [Declaration of Melvin N.A. Avanzado; and
             22   L&M RACING, LLC, and MIKE                         [Proposed[ Order filed concurrently herewith]
                  KRANYAK,
             23

             24                      Counterclaimants,
                        v.                                      Action Filed: January 10, 2012
                                                                Trial Date:   June 25, 2013
             25
                  JAMES STEWART ENTERTAINMENT,
             26   LLC, a Florida limited liability company,
                  and JAMES STEWART, JR.,
             27

             28                      Counterdefendants.
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                     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR EVIDENCE PRECLUSION & MONETARY SANCTIONS
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              1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
              2                PLEASE TAKE NOTICE that, pursuant to Rules 26 and 37 of the
              3   Federal Rules of Civil Procedure, in this matter on June 18, 2013 at 10:00 a.m. or as
              4   soon thereafter as the parties may be heard, in Courtroom 3 or 4 of the above-entitled
              5   court, courtroom of the Honorable Sheri Pym, located at 3470 Twelfth Street
              6   Riverside, California 92501-3801, Plaintiffs and Counter-Defendants James Stewart
              7   Entertainment, LLC (“JSE”) and James Stewart, Jr. (“Stewart”) (collectively,
              8   “Plaintiffs”) will and hereby do move for evidence preclusion and monetary sanctions
              9   against Defendants L&M Racing, LLC (“L&M”), and on all counterclaims of L&M
             10   and Defendant and Counterclaimant Mike Kranyak (“Kranyak”) (collectively,
             11   “Defendants”).
             12                Specifically, pursuant to this motion, Plaintiffs seek the following relief
             13   under Rules 26 and 37:
             14                (a)    An order striking and precluding Defendants from introducing,
             15   mentioning or otherwise using any testimony from Stewart’s April 15, 2013
             16   deposition, including but not limited to that portion of Stewart’s deposition in which
             17   Defendants questioned Stewart about documents that Defendants did not previously
             18   produce or disclose to Plaintiffs;
             19                (b)    An order striking and precluding Defendants from introducing,
             20   mentioning or otherwise using any testimony from Sergio Avanto’s April 16, 2013
             21   deposition for any purpose, including but not limited to that portion of Avanto’s
             22   deposition in which Defendants questioned Avanto about documents that Defendants
             23   did not previously produce or disclose to Plaintiffs;
             24                (c)    An order precluding Defendants from introducing, mentioning or
             25   otherwise using the documents marked as Exhibits 1017, 1022, 1032, 1045, 1046 and
             26   1051 which were first identified at Stewart’s April 15, 2013 deposition and some of
             27   which were later used as exhibits in Avanto’s April 16, 2013 deposition, as well as
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              1   Exhibits 1022 and 1051 which were first identified in Avanto’s April 16, 2013
              2   deposition – all of which Defendants did not previously produce or disclose to
              3   Plaintiffs;
              4                 (d)   An order precluding Defendants from introducing, mentioning or
              5   otherwise using documents untimely produced by Defendants to Plaintiffs on or about
              6   May 8, 2013, bates stamped L&M 002017 through L&M 002024 pursuant to their
              7   belated search of L&M’s principal place of business in violation of their obligations
              8   under Rule 26;
              9                 (e)   An order precluding Defendants from introducing, mentioning or
             10   otherwise using documents which Defendants have not previously disclosed or
             11   produced to Plaintiffs in a timely manner such that Plaintiffs had the opportunity to
             12   conduct follow up discovery before the discovery cutoff;
             13                       (f)    An order requiring Defendants to pay reasonable expenses,
             14          including attorneys’ fees, resulting from their failure to comply with their
             15          obligations under Rule 26 specifically in the following amounts: (i) $4,000.00
             16          for the time to review documents previously produced and belatedly produced
             17          by Defendants to determine and confirm that the exhibits Defendants used in
             18          Mr. Stewart’s deposition – Exhibit Nos. 1017, 1022, 1032, 1045, 1046, and
             19          1051 – were not previously produced or identified in Defendants’ initial
             20          disclosures and the documents Defendants produced on May 8, 2013 were not
             21          previously produced or disclosed, including time to and draft and send
             22          correspondence to Defendants regarding these documents; (ii) $15,520.00 for
             23          the time expended to prepare this motion to address Defendants’ discovery and
             24          disclosure violations; and (iii) $11,600.00 for the amount Plaintiffs expect to
             25          expend to coordinate the finalization and filing of this joint stipulation, to
             26          prepare the supplemental brief in support of this motion and to prepare for and
             27          argue at the hearing on this motion.
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              1                 Plaintiffs’ motion is made on the following grounds. Two days before
              2   the discovery cutoff in this case, on April 17, 2013 at the second session of his
              3   deposition, Kranyak admitted that Defendants failed to search for documents or
              4   electronically stored information at L&M’s principal place of business in Murrieta,
              5   California. Kranyak’s admissions came on the heels of Defendants’ failure to produce
              6   documents identified in their initial disclosures and in response to Plaintiffs’ two
              7   document requests until the eve of Kranyak’s first deposition session. Defendants
              8   apparently conducted a belated search of the L&M Murrieta facility and produced
              9   almost two thousand pages of documents weeks after the discovery cutoff passed.
             10   Moreover, Defendants played a game of “gotcha” during the deposition of Plaintiff
             11   James Stewart, surprising Stewart with six exhibits which Defendants did not
             12   previously disclose or produce to Plaintiffs’ counsel. Plaintiffs now seek redress for
             13   Defendants’ discovery and disclosure violations through an order excluding evidence
             14   and compensating Plaintiffs for the resources wasted as a result of Defendants’
             15   violations.
             16                 This motion is based on the attached points and authorities, the
             17   declaration (with exhibits) of Melvin N.A. Avanzado filed concurrently herewith, the
             18   proposed order filed concurrently herewith and such oral or documentary evidence
             19   and arguments as may be presented at or before the hearing on this motion.
             20

             21   DATED: May 28, 2013                      THE AVANZADO LAW FIRM
             22                                           MELVIN N.A. AVANZADO
                                                          ELAINE W. YU
             23

             24
                                                          By: /s/ Melvin N.A. Avanzado
             25                                                Melvin N.A. Avanzado
             26                                           Attorneys for Plaintiffs
                                                          James Stewart Entertainment, LLC
             27                                           and James Stewart, Jr.
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